    Case 2:10-cv-04049-JCZ-KWR Document 22 Filed 01/10/11 Page 1 of 1



                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

CASSANDRA BERRY, et al                           CIVIL ACTION
VERSUS                                           NO: 10-4049
PAUL PASTOREK, et al                             SECTION: "A"




              NOTICE REGARDING ORAL ARGUMENT REQUEST
                          SECTION A ONLY

     A request for oral argument has been filed in conjunction with

Defendants’ Motion to Dismiss (Rec. Doc. #19), set for hearing

before the district judge in this matter.        Notwithstanding Local

Rule 78.1E, this Court will issue an order setting oral argument

for a specific date and time if the Court grants the request.

Counsel should not appear for oral argument until ordered to do so.

Deadlines for response memoranda are not extended--those deadlines

are based on the noticed hearing date and are governed by the Local

Rules.

     THIS NOTICE DOES NOT APPLY TO PROCEEDINGS BEFORE THE ASSIGNED

MAGISTRATE JUDGE.

     January 10, 2011            FOR THE COURT:
                                 JAMES CRULL, CASE MANAGER SECTION A
                                 504-589-7688
